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Attorneys for Defendant
MARIO. LAVANDEIRA dba Perez Hilton

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

X17, INC., a California corporation,
Plaintiff,
vs.

MARIO LAVANDEIRA, dba Perez
Hilton, and DOES 1 through 10,
inclusive,

Defendants.

 

 

 

 

Page 1 of 26 Page ID #:137 °

 

 
 

CASE NO. CV 06-07608(BJUCx)

DEFENDANT’S RESPONSE TO
PLAINTIFF’S OBJECTION TO
MOTION FOR SUMMARY
JUDGMENT

Date: January 28, 2008
Time: 1:30 p.m.
Room: 9

 

 

DEFENDANT’S RESPONSE TO OBJECTION TO MOTION FOR SUMMARY JUDGMENT

 
_ Case-2:06-cv-07608-VBF-JC Document 49 Filed 12/27/07 Page 2 of 26 Page ID #:138 *

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On December 26, 2007, Plaintiff X17, Inc. filed an objection to Defendant
Mario Lavandeira’s motion for summary judgment or, in the alternative, summary
adjudication, on the grounds that it “was not timely and properly filed.” X17’s
objection is based on the fact that Lavandeira filed the moving papers by hand rather
than electronically. X17’s objection lacks merit.

On June 18, 2007, this Court issued its Scheduling and Case Management
Order, a true and correct copy of which is attached hereto as Exhibit 1. On page 21]
of the Order, the Court set the following deadline to file motions: December 17,
2007. Lavandeira filed and served his motion for summary judgment papers on
December 17, 2007 — the date set by this Court. While he did not file the papers
electronically, he did file them by hand.’ Thus, there can be no question that the
Court received the papers on the due date. Furthermore, there can be no prejudice
whatsoever.

X17’s reference to Magistrate Judge Chooljian’s order denying X17’s motion
to compel discovery responses as untimely is entirely irrelevant because that order
was based on the fact that X17 filed its motion to compel discovery responses well
after the discovery cutoff.

Dated: December 27, 2007 FREEDMAN & TAITELMAN LLP
DOLL AMIR & ELEY LLP

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MithaehAmir Go (47

Attorneys for Defendant
MARIO LAVANDEIRA dba
Perez Hilton

 

Lavandeira’s counsel did not file electronically because he did not know of the requirement
to do so. Lavandeira’s counsel has since signed up for the electronic filing program and will
file all subsequent documents electronically.

I
DEFENDANT’S RESPONSE TO OBJECTION TO MOTION FOR SUMMARY JUDGMENT

 
“ Cabe.2:06-cv-07608-VBF-JC Document 49 Filed 12/27/07 Page 3of26 Page ID #139 *

EXHIBIT 1
 

_ Case-2:06.6v-07608-VBF-JC ‘Document 49 Filed 12/27/07 ‘Page 4 of 26 Pagé ID #:140 *
Case 2:06-cv-07608-VBF-JC Document37 Filed 06/1 8/2007 Page 1 of 21

 

   

 

 

 

 

 

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8 UNITED STATES DISTRICT COURT
9 CENTRAL DISTRICT OF CALIFORNIA
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114 X17, Inc., ) Case No. CV 06-7608-VBF (JCx)
)
12 Plaintiff, ) SCHEDULING AND CASE MANAGEMENT
)
13 Vv. } ORDER FOR CASES ASSIGNED TO
)
141| Mario Lavandeira, dba Perez ) JODGE VALERIE BAKER FAIRBANK
Hilton, )
15 )
Defendants. )
16
17 This case has been assigned to the calendar of Judge

18] valerie Baker Fairbank.

19 This Order is to advise the parties and counsel of the
20l| schedule that will govern this action. SEE THE LAST PAGE OF
21| THIS ORDER FOR THE SPECIFIED DATES. Ordinarily, the dates
22 set forth on the last page are determined after consultation
23l| with the parties at the Fed. R. Civ. P. 16(b) Scheduling

24l| conference. This Order is distributed to them at that time.
25 The dates and requirements are firm. The Court is unlikely
2611 to grant continuances, even if stipulated by the parties,

27{| unless the parties establish good cause through a con

28 || showing.

 

 

 
 

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_ Case 2:06-cv-07608-VBF-JC Document 49 Filed 12/27/07 Page 5o0f26 Pagé ID #:141 °
Gpse 2:06-cv-07608-VBF-JC Document37 Filed 06/18/2007 Page 2 of 21

IT IS HEREBY ORDERED:

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1. To secure the just, speedy and inexpensive

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determination of every action, all counsel are ordered to.
familiarize themselves with and follow the Federal Rules of

Civil Procedure and the Local Rules of the Central District

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of California. This Court follows these rules and they will
7] govern this litigation.

8 2. Because this Order in some respects modifies or adds
94 to the Local Rules, counsel are advised to read it carefully.
10 Counsel are advised to pay particular attention to the

11|| requirements of the Court with respect to the filing of

12} motions for summary judgment and documents to be submitted at
134 the Final Pretrial Conference and Trial.
14 3. The attorney attending any proceeding before this
15] court must be an attorney who is thoroughly knowledgeable

16|| about the case, responsible for the conduct of the

17} litigation, and who has authority to enter into stipulations
18] and to make admissions regarding all matters that the ©
19] participants reasonably anticipate may be discussed. Lead
2011 counsel who will actually try the case must attend the Final
211 Pretrial Conference. A party who is not represented must
22] attend all proceedings in person.
23 4, COURTESY COPIES REQUIRED: A courtesy copy of all
24|| papers filed with the court shall be promptly delivered to
251 the chambers of Judge Valerie Baker Fairbank in the drop

2611 box/tray_ outside the Judge's chambers on the day of filing,
27] BY 4:00 p.m. The Judge's Chambers is located at the end of

28] the hallway, to the right of the courtroom.

 

 
 

 

_ Case. 2:06-cv-07608-VBF-JC Document 49 Filed 12/27/07 Page 6 of 26 Pagé ID #:142 '
G@ase 2:06-cv-07608-VBF-JC Document 37 Filed 06/18/2007 Page 3 of 21

1 5. Discovery Cut-Off: All discovery shall be completed
2\| by the discovery cut-off date specified on the last page of

3/| this Order. THIS IS NOT THE DATE BY WHICH DISCOVERY Z

4|| REQUESTS MUST BE SERVED; IT IS THE DATE BY WHICH ALL a

5l| DISCOVERY IS TO BE COMPLETED.

6 Any motion challenging the adequacy of responses to

7|| discovery must be heard sufficiently in advance of the

81 discovery cut-off date to permit the responses to be obtained
9 before that date if the motion is granted.
i101 In an effort to provide further guidance to the parties, the
11] Court notes the following:

12 a. Depositions: All depositions shall be

 

131 scheduled to commence sufficiently in advance of the

144 discovery Cut-off date to permit their completion and to

15 || permit the deposing party enough time to bring any discovery
161] motions concerning the deposition prior to the cut-off date.
17 b. Written Discovery: All interrogatories,

18 {| requests for production of documents, and requests for

19! admissions shall be served sufficiently in advance of the

20] discovery cut-off date to permit the discovering party enough
211 time to challenge (via motion practice) responses deemed to
22|| be deficient.

23 c. Discovery Motions: Whenever possible, the

24|| Court expects the parties to resolve discovery issues among
25 || themselves in a courteous, reasonable and professional

26|| manner. The Magistrate Judge assigned to this case will rule
2711 on discovery motions. (The Magistrate Judge's initials

28|| follow the district judge's initials next to the case number

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on the first page of this Order.) Counsel are-.directed to
contact the Magistrate Judge courtroom deputy clerk to. ta
schedule discovery matters for hearing. Counsel should not
deliver courtesy copies of these discovery documents to this
court . . oe

a. Expert Discovery: If expert witnesses, are to
be called at trial, the parties shall designate affirmative .
experts to be called at trial and provide reports required by
Fed. R. Civ. P. 26 (a) (2) (B) not later than eight weeks prior
to the discovery cut-off date. Rebuttal expert witnesses
shall be designated and reports provided as required by Fed.
R. Civ. P. 26(a) (2) (B) not later than five weeks prior to the
discovery cut-off date. Failure to timely comply with
deadlines may result in the expert being excluded at trial as
a witness.

6. Motions and Motion Cut-Off Date
‘a. General Provisions: All law and motion

matters, except for motions in limine, must be set for
hearing (not filing) by the motion cut-off date specified on
the last page of this Order.

This Court hears motions on Mondays, beginning at 1:30
p.m,

The parties must adhere to the requirements of the Local
Rules. See Local Rules 7-1 et seq. If any party does not
oppose a motion, that party shall submit a written statement
that it does not oppose the motion in accordance with Local

Rule 7-9.

 

 

 

 

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1 The title page of all motions must state the Final

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2 Pre-Trial Conference date and the Trial date. To insure that

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3]| the Court receives oppositions and replies in a timely €
fashion, courtesy copies, conformed to reflect that they Have
been filed, should be deposited in the drop box/tray located
in the entrance way to the Chambers of Judge Fairbank. The

Judge's chambers is located at the end of the hallway, to the

right of the courtroom.

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Counsel must comply with Local Rule 7-3, which requires
10] counsel to engage in a pre-filing conference "to discuss

11}} thoroughly .. . the substance of the contemplated motion and
12} any potential resolution."

13 Issues left undetermined after the passage of the motion
14] cut-off date should be listed as issues for trial in the

15|| Final Pre-Trial Conference Order. As an exception to the

16l| above, motions in limine dealing with evidentiary matters may
17} be heard pursuant to the schedule specified on the last page
18] of this Order.

19 Ex parte practice is discouraged. See Mission Power

20|| Eng’g v Co. . Continental Cas. Co., 883 F. Supp. 488 (C.D.

2114 Cal. 1995). The Court will require strict adherence to

22|| proper ex parte procedures for any ex parte application filed
23) with the Court. Id. at 492; see also Local Rule 7-19.

24 b. Applications and Stipulations to Extend Time:

25 || Applications to extend the time to file any required document
26 or to continue any hearing, Final Pre-Trial Conference or

27 || Trial date must set forth the following:

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. Case -2:06-ev-07608-VBF-JC Document 49 Filed 12/27/07 Page9of26 Page ID #:145
Qrase 2:06-cv-07608-VBF-JC Document 37. Filed 06/18/2007 Page 6 of 21

1 (i) the existing due date or hearing date, as

i
2 well as the discovery cut-off date, the Final Pre-Trial WwW

31 Conference date, and the Trial date; %
4 (ii) specific, concrete reasons supporting ””
5 | good cause for granting the extension; and

6 {iii} whether there have been prior requests
71| for extensions, and whether these requests were granted or

8i| denied by the Court.

9 c. dJoinder of Parties and Amendment of Pleadings:
10] The deadline for joining parties and amending pleadings is
114 ninety days after the date of this Order. Any motions to

12] join other parties or for leave to amend the pleadings shall
13 || be filed within sixty days of the date of this Order so that
14] they can be heard and decided prior to the deadline.

15 In addition to the requirements of Local Rule 15-1, all
161 motions to amend the pleadings shall: (1) state the effect of
17} the amendment; (2) be serially numbered to differentiate the
18 | amendment from previous amendments; and (3) state the page,

19/| line number(s), and wording of any proposed change or

20] addition of material.
21 The parties shall deliver to Chambers a_ redlined version
22|| of the proposed amended pleading indicating all additions
23ll and deletions of material.
24 d. Summary Judgment Motions: The Court will
25 || require adherence to the following requirements:

26 . (i) Separate Statement of Uncontroverted Facts
274 and Statement of Genuine Issues of Material Fact:

28

 

 
 

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Qrase 2:06-cv-07608-VBF-JC Document 37 Filed 06/18/2007 Page 7 of 21

The Separate Statement of Uncontroverted Facts is to be
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prepared in a two column format. The left-hand column should
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set forth the allegedly undisputed fact. The right-hand <<
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column should set forth the evidence that supports the

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factual statement. The factual statements should be set
6|| forth in sequentially numbered paragraphs. Each paragraph
7l\ should contain a narrowly focused statement of fact. Each —
8) numbered paragraph should address a single subject in as

9i| concise a manner as possible.
10 The opposing party's Statement of Genuine Issues of
11) Material Fact must be in two columns and track the movant's
12|| Separate Statement exactly as prepared. The document must be
13! in two columns; the left-hand column must restate the
14] allegedly undisputed fact, and the right-hand column must —
15|| indicate either undisputed or disputed. The opposing party
16] may dispute all or only a portion of the statement, but if
17|| disputing only a portion, must clearly indicate what part is
18]| being disputed. Where the opposing party is disputing the
19|| fact in whole or part, the opposing party must, in the
20] right-hand column, label and restate the moving party's
211 evidence in the support of the fact, followed by the opposing
22} party's evidence controverting the fact. Where the opposing
23|| party is disputing the fact on the basis of an evidentiary
241] objection, the party must cite the evidence alleged to be
25 || objectionable and state the ground of the objection and
26] nothing more. No argument should be set forth in this .-
27 document.

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_ Case 2:06-cv-07608-VBF-JC Document49~-Fited 12/27/07 Pagé110f26 Page ID #:147
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The opposing party may submit additional material facts
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that bear on or relate to the issues raised by the movant iu

which shall follow the format described above for the moving
party's Separate Statement. These additional facts shall

follow the movant's facts, shall continue in sequentially

numbered paragraphs (i.e. if movant's last statement of fact

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was set forth in paragraph 30, then the first new fact will

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be set forth in paragraph 31), and shall set forth in the

91 right-hand column the evidence that supports that statement.
10 The moving party, in its reply, shall respond to the

11] additional facts in the same manner and format that the

12|| opposing party is required to adhere to in responding to the
13/1 Statement of Uncontroverted Facts, as described above.

14 (ii) Supporting Evidence. No party should

 

154} submit any evidence other than the specific items of evidence
16] or testimony necessary to support or controvert a proposed

171 statement of undisputed fact. Thus, for example, the entire
18] transcripts of depositions, entire sets of interrogatory

19] responses, and documents that’ do not specifically support or
20 controvert material in the Separate Statements should not be
211] submitted in support of or in opposition to a motion for

22|| summary judgment.

23 Evidence submitted in support of or in opposition to a
24l| motion for summary judgment should be submitted either by way
25|| of stipulation or as exhibits to a declaration sufficient to
26 || authenticate the proffered evidence, and should not be

27| attached to the memorandum of points and authorities. The

28] Court will accept counsel's authentication of deposition

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1 transcripts, written discovery responses, and the receipt of
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2l| documents in discovery if the fact that the document was if

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31 the opponent's possession is of independent significance.

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4{| Documentary evidence as to which there is no stipulation
5] regarding foundation must be accompanied by the testimony,
6|| either by declaration or properly authenticated deposition

transcript, of a witness who can establish its authenticity.

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All evidence in support of or in opposition to a motion
9|| for summary judgment, including declarations and exhibits to
10] declarations, shall be separated by a tab divider on the

11 bottom of the page. If evidence in support of or in

12|| opposition to a motion for summary judgment exceeds twenty

13 pages, the evidence must be in a separately bound volume and

14|| include a Table of Contents. If the supporting evidence

15|| exceeds fifty pages, the Court's courtesy copy of the

16 || supporting evidence shall be placed in a Slant D-Ring binder

17 with each item of evidence separated by a tab divider on the

18], right side. All documents contained in the binder should be

191 three-hole-punched with the oversized 13/32" hole size, not

20]| the standard 9/32" hole size.

21 (iii) Objections to Evidence. If a party

221) disputes a fact based in whole or in part on an evidentiary

23 || objection, the ground for the objection, as indicated above,

241] should be stated in the Separate Statement, but not argued in

os that document. Evidentiary objections should be addressed in

26l|a separate memorandum to be filed with the opposition or

271 reply brief of the party. This memorandum should be

28 organized to track the paragraph numbers of the Separate

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Statement in sequence. It should identify the specific item
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of evidence to which objection is made, the ground for they

objection, and a very brief argument with citation to

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authority as to why the objection is well taken. The
following is an example of the format contemplated by the
Court:

Separate Statement Paragraph 1: Objection to the
supporting deposition transcript of Jane Smith at 60:1-10 on
the grounds that the statement constitutes inadmissible
hearsay and no exception is applicable. To the extent it is
offered to prove her state of mind, it is irrelevant since
her state of mind is not in issue. Fed. R. Evid. 801, 802.
pO NOT SUBMIT BLANKET OR BOILERPLATE OBJECTIONS TO THE
OPPONENT'S STATEMENTS OF UNDISPUTED FACT. THESE WILL BE
DISREGARDED AND OVERRULED.

(iv) The Memorandum of Points and Authorities.

The movant's memorandum of points and authorities should be
in the usual form required under Local Rule 7 and should
contain a narrative statement of facts as to those aspects of
the case that are before the Court. All facts should be
supported with citations to the paragraph number in the.
Separate Statement that supports the factual assertion.

Unless the case involves some unusual twist, the motion
need only contain a brief statement of the Fed. R. Civ. P. 56
standard; the Court is familiar with the Rule and with its
interpretation under Celotex and its progeny. If at all
possible, the argument should be organized to focus on the

pertinent elements of the claim(s) for relief or defense (s)

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in issue, with the purpose of showing the existence or

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non-existence of a genuine issue of material fact for trial
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on that element of the claim or defense. 2c
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Likewise, the opposition memorandum of points and
authorities should be in the usual form required by Local
Rule 7. Where the opposition memorandum sets forth facts,
the memorandum should cite to paragraphs in the Separate
Statement if they are not in dispute, to the evidence that
contravenes the fact where the fact is in dispute, or, if the
fact is contravened by an additional fact in the Statement of
Genuine Issues of Material Fact, the citation should be to
such fact by paragraph number.

(v) Proposed Statement of Decision. Each party
shall file and serve a Proposed Statement of Decision, which
shall contain a statement of the relevant facts and
applicable law with citations to case law and the record.

The Proposed Statement of Decision shall not exceed five
pages and shall be in a form that would be appropriate for
the Court to enter as its final order on the motion.

(vi) Timing. In virtually every case, the
Court expects that the moving party will provide more than
the minimum twenty-one day notice for such motions.

(NOTE: Parties need not wait until the motion cut-off to

pring motions for summary judgment or partial summary

judgment. Early completion of non-expert discovery and
filing of motions for summary judgment may eliminate or
reduce the need for expensive expert depositions that are

normally conducted in the last stages of discovery.]

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led 12/27/07 Page 14 of26 Page ID #:150

 
 

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e. Avoid Composite Motions. Unless clearly
justified under the circumstances of the case, "motions toll
dismiss or in the alternative for summary adjudication" are
discouraged. These composite motions tend to blur the 9
distinctions between the two motions.

f. Motions in Limine. Before filing any motion in

 

limine, counsel for the parties shall confer in good faith to

eliminate the necessity for hearing the motion in-limine or

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to eliminate as many of the disputes as possible. it shall
10 be the responsibility of counsel for the moving party to

11} arrange for this conference. The motion papers must include
12 a declaration showing a good faith meet and confer effort.

13 Unless otherwise ordered by the Court, motions in limine
14 || will be heard on the date specified on the last page of this
i5l|order. Unless the Court in its discretion otherwise allows,
16|| no motions in limine shall be filed or heard on an ex parte
17 basis, ‘absent a showing of irreparable injury or prejudice

isl not attributable to the lack of diligence of the moving

 

19 {| party.
20 7. Final Pre-Trial Conference and Local Rule 16 Filings
21 a. General Provisions. The Fina] Pre-Trial

22 conference ("FPTC") will be held on the date specified on the
23|| last page of this Order, unless the Court expressly waived

24\| the FPTC at the Scheduling Conference. (In the rare cases

25 where the Court waives a FPTC, the parties must follow Local
261] Rule 16-10.)

27 The lead trial attorney on behalf of each party shall

oel attend both the FPTC and all meetings of the parties in

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1{| preparation for the FPTC, unless excused for good cause shown

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24 in advance of the FPTC. tu

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At the FPTC, the parties should be prepared to discuss:
all means of streamlining the trial, including, but not Limited
to the following: bifurcation; presentation of foundational
and non-critical testimony and direct testimony by deposition
excerpts; narrative summaries and/or stipulations as to the

content of testimony; presentation of testimony on direct

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examination by affidavit or by declaration subject to

10 cross-examination; and qualification of experts by admitted
11] resumes. The Court will also discuss settlement.

12 b, Form of the Final Pre-Trial Conference Order

i3|| ("FPpTCO"). The proposed FPTCO shall be lodged by the date

14|| specified on the last page of this Order. Adherence to this
15 | time requirement is necessary for in-chambers preparation of
16l|the matter. The form of the proposed FPTCO shall comply with
17|| Appendix A to the Local Rule and the following:

18 (i) Place in "ALL CAPS" and in bold the

19{| separately numbered headings for each category in the FPTCO
20} (e.g., “1. THE PARTIES" or "7. CLAIMS AND DEFENSES OF THE

214 PARTIES").

22 (ii) Include a Table of Contents at the

23 || beginning.

24 (iii) In specifying the surviving pleadings

25/1 under Section 1, state which claims or counterclaims have

26 | been dismissed or abandoned (e.g., "Plaintiff's second cause
27\l of action for breach of fiduciary duty has been dismissed.").

28 Also, in multiple party cases where not all claims or

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counterclaims will be prosecuted against all remaining

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parties on the other side, specify to which party each claim

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(iv) In drafting the FPTCO, the Court expects

or counterclaim is directed.

that the parties will attempt to agree on and set forth as
many uncontested facts as possible. The Court will usually
read the uncontested facts to the jury at the start of the
trial. A carefully drafted and comprehensively stated
stipulation of facts will reduce the length of trial and
increase jury understanding of the case.

(v) In specifying the parties’ claims and
defenses in Section 7 of the FPTCO, each party shall closely
follow the examples set forth in Appendix A of the Local
Rules.

(vi) The Court may submit fact issues to the
jury in the form of findings on a special verdict. The
issues of fact should track the elements of a claim or
defense on which the jury will be required to make findings.

(vii) If expert witnesses are to be called at
trial, each party must list and identify its respective
expert witnesses, both retained and non-retained. Failure of
a party to list and identify an expert witness in the FPTCO
could result in a court order which precludes the party from
calling that expert witness at trial.

c. Rule 16 Filings; Memoranda; Witness Lists;
Exhibit Lists. The parties must comply fully with the
requirements of Local Rule 16. They shall file carefully

prepared Memoranda of Contentions of Fact and Law (which may

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il also serve as the trial brief), along with their respective
(3

2 witness Lists and Exhibit Lists, all in accordance with Loéal
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31| Rules 16-3, 16-4, and 16-5. See the last page of this Order
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ify

for applicable dates.

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5 d. Summary of Witness Testimony and Time
6|| Estimates. Counsel shall prepare a list of their witnesses,
7} including a brief summary (two to three paragraphs) of each
git witness's expected testimony, an estimate of the length of
9l| time needed for direct examination, and whether the witness
10|| will testify by deposition or in person. Counsel shall
11|| exchange these lists with opposing counsel. Counsel shall
12] jointly file a single list of witness testimony summaries,
13 | including estimates for direct examination of their own
14 witnesses and estimates for cross-examination of opposing
isl witnesses. The joint witness testimony summaries shall be
16 | filed at the same time counsel lodge the FPTCO. If a party
i7l| intends to offer deposition testimony into evidence at trial,
18} the party shall designate the relevant portions of the
19 | deposition testimony to be read at trial and advise opposing
20ll counsel of same. Opposing counsel shall then designate any
211 additional portions of such deposition testimony which
22l| counsel intends to offer in evidence. All objections to any
231 such testimony shall be made in writing and filed at the same
24|| time counsel lodge the FPTCO so that the Court may consider
25 || whether ruling on the objections will facilitate trial or
26 ‘result in the disposition of evidentiary matters that may

271 assist continuing settlement negotiations.

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1 e. Final Pre-Trial Conference -. Exhibit |

NNEC |

2 stipulation. The parties shall prepare a Final Pre- Trial :
34 Exhibit. Stipulation that shall contain each party's riunbevéd

al list of all trial exhibits, with objections, if any, to each

5] exhibit including the basis of the objection and the offering
6 || party's response. All exhibits to which there is no
711 objection shall be deemed admitted. All parties shall

8] stipulate to the authenticity of exhibits whenever .possible,
9{| and the Final Pre-Trial Exhibit Stipulation shall identify
10]| any exhibits for which authenticity has not been stipulated
1111 to and the specific reasons for the party's failure to -

124 stipulate.

13 The Stipulation shall be substantially in the following

14} £orm:
15 Pre-Trial Exhibit Stipulation

 

16 || Plaintiff(s)' Exhibits

17} Number Description If Objection, State Grounds’

- 18} Response to Objection .
19 || Defendant(s)? Exhibits
201i Number Description If Objection, State Grounds
21/1 Response to Objection
22 The Final Pre-Trial Exhibit Stipulation shall be filed at
23 || the same time counsel lodge the FPTCO. Failure to comply
24\|with this paragraph could be deemed to constitute a waiver of

25i1 all objections. .

 

26 c. Jury Instructions, Verdict Forms, Special

27|| Interrogatories
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1 (i) Fourteen days before the Local Rule 16-2

2 meeting, the parties shall exchange proposed jury ta

3 instructions, verdict forms and special interrogatories. “

4i| Seven days before the meeting, counsel shall exchange written
5 objections, if any, to proposed jury instructions, verdict

6 || form and special interrogatories. At the Local Rule 16-2

71 meeting, the parties shall confer with the objective of

gi submitting one set of agreed upon instructions, a mutually

9 agreed upon verdict form and, if necessary, special

101 interrogatories.
11 (ii) If the parties cannot agree upon one
12] complete set of instructions, verdict form and/or special
13] interrogatories, they shall file two documents with the
14] Court: a joint document reflecting the agreed upon
1sl| instructions, verdict form and/or special interrogatories;
16 {| ana a second document in the form of a joint statement
17|| regarding the disputed instructions, verdict form, and/or
18 | special interrogatories in the following format for each
19!) instruction, verdict form and/or special interrogatories in.
20] issue:
21 (a) A separate page containing the text of the
22|| disputed language with an identification of the party
23 | proposing it;
24 (b) Following the text of the disputed
25|| language, the opposing party's statement of objections to the
26 || disputed language along with legal authority in support of
27\|| the argument (not to exceed one page) and proposed

28 || alternative language where appropriate; and

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{c) The proposing party's response to the
objection with legal authority supporting the proposed LU
language, not to exceed one page. at

Both the agreed on set and the joint statement regarding
disputed instructions, verdict form, and/or special
interrogatories are to be filed with the Final Pre-Trial
Conference Order and other Local Rule 16 documents.

(iii) All proposed jury instructions shall be
in the format specified by Local Rule 51-2. The Court will
send a copy of the instructions into the jury room for the
jury's use during deliberations. Accordingly, in addition to
the file copies described above, counsel shall submit a
"clean set" of Joint Proposed and/or Disputed Jury
Instructions, containing only the text of each instruction
set forth in full on each page, with the caption "Court's
Instruction No. _" (eliminating titles, supporting
authority, indication of party proposing, etc.).

(iv) A Table of Contents shall be included with
all jury instructions submitted to the Court. The Table of
Contents shall set forth the following:

(a) The number of the instruction;

(b) A brief title of the instruction;

(c) The source of the instruction; and

(d) The page number of the instruction.

For example:
Number Title Source Page Number
1 Burden of Proof 9th Cir. Manual of 5

Model Jury Instr. 5.1

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(v) The Court directs counsel to use the
instructions from the Manual of Model Jury Instructions £sE
the Ninth Circuit (West Publishing, latest edition) where « 2
applicable. Where California law is to be applied and the”
above instructions are not applicable, the Court prefers

counsel to use the Judicial Council of California Civil Jury

 

Instructions ("CACI") (LexisNexis Matthew Bender, latest

edition). If neither of these sources is applicable, counsel

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are directed to use the instructions from O'Malley, Grenig

10 and Lee, Federal Jury Practice and Instructions (latest

11 |} edition) .

12 (vi) Modifications of instructions from the

13 foregoing sources (or any other form instructions) must

14|| specifically state the modification made to the original form
15|| instruction and the authority supporting the modification.

16 Caveat: The failure of any counsel to comply with or

17] cooperate in all of the foregoing procedures regarding jury
18 | instructions may result in sanctions, including in

19 appropriate circumstances, a waiver of all objections to the
20]| jury instructions given by the Court.

21 g.- ‘Joint Statement of the Case and Requests for

22|| voir Dire. At the Final Pre-Trial Conference, the parties

23|| shall file their proposed voir dire questions and their joint
24 ll statement of the case which the Court shall read to all

25|| prospective jurors prior to the commencement of voir dire.

26 The statement should not be longer than two or three

27|| paragraphs.

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1 The Court conducts voir dire of all prospective jurors.

2] The parties need not submit requests for standard voir dire

3) questions, such as education, current occupations, marital

44 status, prior jury service, etc., but should include only

5 | proposed questions specifically tailored to the parties and

61 issues of the case.

7 7. COURT TRIAL: FINDINGS OF FACT AND CONCLUSIONS OF LAW
3 Counsel for each party shall lodge and serve initial proposed
9] findings of fact and conclusions of law by the date specified
10l1on the last page of this Order. Courtesy copies of the
111 documents shall also be deposited in the drop box/tray

121) located at the entrance way to the Judge's Chambers on the

13 || due date by 4:00 p.m.

14 8. Settlement

15 The parties must file a Status Report regarding settlement at

i16l\ the time they lodge the Proposed Final Pre-Trial Conference

17! order. This Report shall not disclose the parties’

181 settlement positions, i.e, the terms of any offers or

19| demands. It shall merely describe the efforts made by the

20|| parties to resolve the dispute informally, i.e. the occasions

21|| and dates when the parties participated in mediations or

22|| settlement conferences.

23

244 pated: dune 18, 2007 Ublerie babe, farbete
VALERIE BAKER FAIRBANK

25 United States District Judge

 

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1 JUDGE VALERIE BAKER FAIRBANK
cr
2 SCHEDULE OF TRIAL AND PRE-TRIAL DATES tu
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3 f
Scheduling Conference Notes *

For The Honorable Judge Valerie Baker Fairbank,
U.S. District Judge

 

un ®

6 1. Parties and Case Number:
7 a. X17, Inc., Vv. Mario Lavandeira, dba Perez Hilton
8 b. Case number: CV 06-7608-VBF (JCx)

9} 2. Trial: March 11, 2008 at 8:30 AM

 

10 a. dury __x
11 b. Court
12 c. Time Est.: 7-10 days

13} 3. PPTC: February 25, 2008 at 2:30 PM
1444. Motion Cut-off (hearing) 1/28/08; to file 12/17/07
i5l\5.  Non-expert Discovery Cut-off: 11/30/07

16l|6. Expert Discovery Cut-off: 2/18/08

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7. Cut-off for adding parties/ Amending cut-off

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21] 8. ADR

 

2219. Settlement Conference to be held no later than November
30, 2007.

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24||\G@aspaeeskate firm. Counsel are on notice. Court is unlikely
fo continue dates, absent a showing of good cause.

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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

I am employed in the County of Los Angeles, State of California. I am over the age of 18
and not a party to the within action; my business address is 1888 Century Park East, Suite 1106,
Los Angeles, California 90067.

On December 27, 2007, 1 served the foregoing document described as DEFENDANT'S
RESPONSE TO PLAINTIFF’S OBJECTION TO MOTION FOR SUMMARY JUDGMENT
on the parties in this action by serving:

SEE ATTACHED SERVICE LIST

(X) By Envelope: by placing (_) the original ( X ) a true copy thereof enclosed in sealed
envelopes addressed as above and delivering such envelopes:

 

 

 

(X) By Mail: As follows: Iam “seadily familiar” with this firm’s practice of collection and
processing correspondence for mailing. Under that practice it would be deposited with the U.S.
postal service on that same day with postage thereon fully prepaid at Los Angeles, California in the |
ordinary course of business. I am aware that on motion of the party served, service is presumed
invalid if postal cancellation date or postage meter date is more than one day after date of deposit

for mailing in affidavit.

() By Personal Service: I delivered such envelope by hand to the offices of the addressee(s).

() By Federal Express: I caused the envelope(s) to be delivered to the Kedera! Express office
for delivery on the next-business-day basis to the offices of the addressee(s).

() By Electronic Mail: I scanned and submitted an electronic versions of the document via
electronic mail to the above and confirmed receipt of the e-mail.

(X) By Facsimile Transmission: On December 27, 2007, I caused the above-named document

.

to be transmitted by facsimile transmission, from fax number 310-557-9101, to the offices of the
addressee(s) at the facsimile number(s) so indicated. The transmission was reported as complete
and without error.

Executed on December 27, 2007, at Los Angeles, California.

(X) FEDERAL I declare that I am employed in the office of a member of the bar of this court

at whose direction the service was made,
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Stacy Van Pelt

 

 

 

 

 
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3105579101 Doll & Amir LLP

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SERVICE LIST

 

Chris Arledge, Esq.

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